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AO 187(Rev. 4/82)                        EXHIBIT LIST
  ETDO PRODUCTIONS, LLC VS. ALFREDO CRUZ, ET AL                                                                       DISTRICT COURT
                                                                                                                      Eastern District of Louisiana
  PLAINTIFFS’ ATTORNEY                                      DEFENDANTS’ ATTORNEY                                      CASE NUMBER:
  JESSICA MICHELLE VASQUEZ                                  THOMAS ST. PAUL KEATY, II                                 19-13184 B
                                                            STEVEN M. HANNAN
                                                                                                                      TRIAL DATES:
                                                                                                                      OCTOBER 26, 2020 THROUGH
                                                                                                                      OCTOBER 29, 2020
  PRESIDING JUDGE                                           COURT REPORTER                                            COURTROOM DEPUTY
  IVAN L. R. LEMELLE                                        ALEXIS VICE                                               KIMBERLY A. COUNTY
  Pla.          Def.       DATE                MKD          ADM               DESCRIPTION OF EXHIBITS
  No.           No.       OFFERED


                                                                         SEE EXHIBIT LISTS ATTACHED
                                                                         ADMITTED EXHIBITS: 1 THROUGH 227, 229, 230, 233,
                                                                         238, 245, 246, 250, 257, 259, 260, 261, 262, 293, 311, 346, 352,
                                                                         353, 354 AND 355




                                                                         NOTICE FOR REMOVAL OF EXHIBITS DISTRIBUTED
                                                                         THROUGH CM/ECF




*Include a notation as to the location of any exhibit not held with the case file or not available because of size.


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